                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 3:11-00204
                                                  )      Judge Trauger
[1] MANILA VICHITVONGSA, a/k/a Manee              )
Vichitvongsa                                      )

                                          ORDER

       It is hereby ORDERED that the sentencing scheduled for January 31, 2013 is RESET

for Tuesday, January 29, 2013, at 1:30 p.m.

       It is so ORDERED.

       ENTER this 11th day of December 2012.




                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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